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      In The United States Court of Federal Claims
                                            No. 05-1058C

                                      (Filed: November 21, 2008)
                                              __________
 HAL D. HICKS, f/d/b/a HAL D. HICKS
 MAIL TRANSPORTATION,

                         Plaintiff,

        v.

 THE UNITED STATES,

                        Defendant,

        And

 MIDWEST TRANSPORT, INC.,

                         Defendant-Intervenor.
                                           _________

                                              ORDER
                                             _________

        On November 21, 2008, the court conducted a pre-trial conference in this case.
Participating in this conference were Mr. John F. Theil, for plaintiff; Mr. Michael D. Austin, for
defendant; and Mr. J. Michael Littlejohn, for defendant-intervenor. For the reasons discussed at
this conference, the court hereby orders the following:

       1.       Trial will commence at 10:00 a.m. (CST) on Monday, December 15, 2008,
                at the U.S. District Court for the Eastern District of Missouri, Thomas F.
                Eagleton Courthouse, 111 South 10th Street, St. Louis, Missouri, 63102.
                Each subsequent day of trial will begin at 9:30 a.m. (CST), unless
                otherwise ordered.

       2.       On or before December 8, 2008, the parties shall file a joint stipulation of
                undisputed facts. The court expects that stipulation to be as extensive as
                possible. Failure to file a sufficiently comprehensive stipulation will result
                in an order requiring the parties to refile a revised stipulation that comports
                with the court’s expectations.
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3.       Regarding time allotments:

         a.     The parties shall each have twenty minutes for opening statements.
                Plaintiff will go first, then defendant, then defendant-intervenor.

         b.     Plaintiff’s evidentiary presentation shall be limited to fourteen
                hours, exclusive of cross-examination. Defendant and
                defendant-intervenor’s respective evidentiary presentations shall be
                limited to fourteen hours, exclusive of cross-examination, with ten
                hours for defendant, and four hours for defendant-intervenor.
                Defendant and defendant-intervenor may agree to reallocate their
                allotted time.

4.       Regarding exhibits:

         a.     At the outset of trial, it is the court’s intent to admit en masse any
                exhibits to which there are no objections. At that time, the court
                will rule on any objections to exhibits that do not require live
                testimony. Objections to exhibits that require live testimony will be
                considered at the appropriate time. The parties shall consult with
                each other to avoid introducing duplicate exhibits.

         b.     At the beginning of trial, the parties shall supply six pre-marked
                copies of the exhibits they intend to offer in this case, including
                joint exhibits. The exhibits shall be in binders, with tabbed dividers
                between each individual exhibit. Colored exhibit stickers shall be
                affixed only to the original copy of the exhibits (which will be
                provided to the reporter). Defendant shall use blue stickers;
                plaintiff shall use white stickers; defendant-intervenor shall use any
                color other than blue or white. The parties shall ensure that the
                pagination of individual exhibits is easily identifiable and that boxes
                suitable for mailing two copies of their exhibits are available at the
                trial location.

5.       Regarding witnesses:

         a.     The parties shall coordinate regarding the order of witness
                presentations, particularly in the calling of common witnesses.

         b.     Each party shall notify the other as soon as possible if a
                determination is made not to call someone on its witness list.




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         c.     Based on the anticipated schedule, the parties are hereby instructed
                to have adequate witnesses available and prepared to testify on each
                day of trial, so as to ensure that each day of the trial proceedings is
                fully utilized.

         d.     Plaintiff's witnesses shall first be questioned by plaintiff, then
                defendant, then defendant-intervenor, if necessary.

         e.     Counsel are reminded of the court’s expectation that the direct
                examination of witnesses shall be crisp and shall not unduly elicit
                information already in the record (e.g., stipulated matters).

6.       The court may require post-trial briefing in this case. The schedule for such
         briefing will be established at the conclusion of trial.

7.       Closing argument will be held following the conclusion of any post-trial
         briefing, on a date to be established.

8.       Counsel are reminded of the court’s expectation that they will attempt to
         resolve as many matters as possible through cooperation.

IT IS SO ORDERED.



                                                        s/ Francis M. Allegra
                                                        Francis M. Allegra
                                                        Judge




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